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                    EXHIBIT A
                   Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 2 of 70
                                                                                         day.co.uk]
 To:       Sharon .Churcher@mailonsunday.co.uk[Sharon.Churcher@mailonsun
 From:     Jenna
·sent:     Mon 3/7/2011 10:55:59 AM
 Importance:         Normal
 Subject: RE: Re:
 Received:           Mon 3/7/2011 10:55:59 AM

Hi again ,
                                                                     me with. It's going to be splendid weather tomorro w!:-) We should
Thanks alot for understanding, I appreciate all that you are helping
                                                                   pelicans feed.
meet at the kids water gym next to where you went to watch the
See you then ...
Take care ,
Jenna

 ----Orig inal Message-----
 From: Sharon .Churcher@mailonsunday.co.uk
 Sent: Monday, 7 March 2011 8:46 PM
 To : Virginia Giuffre
 Subject: Re:

 All understood. A lot of people are rooting for you .
 You must do what is best for you and your family.
 Where shall we meet? (Glorious weather ... .)


 1--- >
 !From:
 1---- >
  Jane Doe 2


 1--- >
 !To:
 11-- ->                                                               ---
   >·- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
   !Sharon Churcher
                                                                       ---
   >·---------------------------------
  11-- ->
  !Date:
  11-- ->                              ---
   >·---------------------------------
   107/03/2011 09:28 GMT
                                       ---
   >·---------------------------------
  ,,--- >
  !Subject:    I
  1--- >                                ---
   >----------------------------------
   IRE:                                 ---
   >·----------------------------------


  Hi shazza ,
                                                                              ated
  That will be great if we can arrange the wire tomorrow, much appreci
                                 husband   and  I would like to be  alone  with the
  buddy! If you don't mind my
          convers ation  taking place tomorro w,  we just  have  some   serious things
  phone
                                                                        in
  to think about and our families well being comes first. I'll fill you
                       w . We  were thinking of  meeting  you  at The  entranc  e
  over lunch tomorro
                                                                          to
  instead. There's really nice alfresco dining and great for the kids
  play. What do you think? See you then ...
  Take care,
  Jenna

   -----Original Messag e----
   From: Sharon .Churcher@mailonsunday.co.uk
   Sent: Monday, 7 March 2011 6:22 PM
   To : Virginia Giuffre

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        CONflDENTIAL
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• We'll get your money going asap. You earned it babe!!! The book next...
  See you tomorrow.
  Hugs ,
 s
 XOxO



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        CONFIDENTIAL
                  Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 4 of 70
 To:       Villafana, Ann Marie C. (USAFLS)[Ann .Marie .C.Villafana@usdoj.gov]
 From:     Jenna
·sent:     Mon 3/7/2011 9:14:33 PM
 Importance :          Normal
 Subject: RE : Confidential contact information
 Received:             Mon 3/7/2011 9:14:33 PM

 Hi Mrs. Villafana,
                                                                                                  year old and lost, its in the repair shop
 I am unable to be contacted by Skype for the next few days as my laptop had a fight with my 3
 now, but I am still contactable by phone . When you are ready, feel free to give me a call anytime.




-- -
 Sincerely,

 Jane Doe 2


 ---Origina l Message-- --
 From: Villafana, Ann Marie c: (USAFLS)
 Sent: Tuesday, 8 March 2011 4:06 AM
 To: Virginia Giuffre
 Cc: Bardfeld, Wende E. (FBI)
 Subject: FW: Confidential contact information

.Dear Virginia:

 Please treat this as a confidential communication.
                                                                                                at 9:00 a.m. your time, Tuesday, Mar
 Thank you for contacting me. Special Agent Wende Bardfeld and I would like to speak with you
                                                                                               Palm  Beach.
 8, 2011 . According to my calculations, that is 5:00 p.m., Monday, March 7, 2011 here in West
                                                                                                  put you a bit more at ease, and wou
 We would prefer to speak with you via Skype, if possible. We feel that a video-conference would
                                                                     up  a Skype  account with user name Wende .Bardfeld@ic.fbi.gov.
 be a better way for us to introduce ourselves to you. Wende has set
                                                                                                          send me an email. In the
 If you are unable to sign in to Skype , or if you cannot locate Special Agent Bardfeld's log-in, please
                                                                    call you on the telephone   number   that you provided.
 alternative, ifwe do not hear from you on Skype by 5:10, we will

  Thank you again.

  A. Marie Villafana
  Assistant U.S. Attorney
  500 S . Australian Ave, Suite 400
  West Palm Beach, FL 33401
  561-209-1047
  Fax 561-802-1787


  ---Origina l Message- --
  From: Sharon.Churcher@mailonsunday.co.uk [mailto:Sharon .Churcher@mailonsunday.co.uk]
  Sent: Sunday, March 06, 2011 10:06 PM
  To : Villafana , Ann Marie C. (USAFLS)
  Cc: Virginia Giuffre
  Subject: Confidential contact information


  Dear Ms. Villafana:

  I am sending you this email on a strictly background, not for attribution
  basis. I will not disclose it nor any future communications between us
  without your explicit permission .

   Virginia Roberts has asked me to give you her cell phone number.

   She is in Australia,   Jane Doe 2

   I am copying her in by email but she will be grateful any initial contact
   with her is by phone . She is 16 hours ahead of EST. A good time for her to
   speak is nine am her time tomorrow (Monday your time) .
   Virginia would prefer me to be present when you initiate communication with
   her. We both realize that any such communication must be in confidence. I
   will be there for support, not as a journalist.

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        CONFIDENTIAL
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I am sure you understand that it has been a big step for her coming
forward. She has 3 young children and a husband and has concerns about
whether she is compromising their well-being .

I am a former investigative reporter for New York Magazine where my
colleagues included Nick Pileggi . I understand the sensitivity of this
situation.

Frankly, if I still worked there, I would publish everything that I believe
happened to Virginia and that now may be happening to a new generation of
minors.

But I now run the NY bureau for a UK paper and I am restrained because of
the UK's libel laws.

So Virginia and I are putting our trust in you .

Best regards,
Sharon Churcher



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                        Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 6 of 70
 To:       Sharon.Churcher@mailonsunday.co.uk[Sharon .Churcher@mailonsunday.co.uk]
 From:     Jenna
·sent:     Tue 3/15/201110:55:12 PM
 Importance:         Normal _ __
 Subject: RE : Here is contact info for NY literary agency u might like
 Received:           Tue 3/15/2011 10:55:12 PM

Thanks so much shazza! This sounds so amazing! What a good team we make, see you in Sydney!
Xoxo
Jenna

----Original Message-----
From: Sharon .Churcher@mailonsunday.co .uk
Sent: Tuesday, 15 March 2011 8:00 PM
To: Virginia Giuffre; Sandra White
Subject: Here is contact info for NY literary agency u might like


 They are called Objective Entertainment. Top guy is Jarred. I think he
 will be intrigued because you could spin off a TV miniseries Jenna
 Will be happy to introduce u.

 I also am attaching info on a more traditional agent I know, Irene
 Goodman. She has had several successes with new authors. Maybe talk to both
 of them as well as Sandra's agency.
 Jane Doe 2




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  To:       Sharon .Churcher@mailonsunday.co .uk[Sharon.Churcher@mailonsunday.co .uk]
  From:     Jenna
• Sent:     Wed3/16/20 118:16:47PM
  Importance:         Normal
  Subject: RE : Your money
  Received:           Wed 3/16/2011 8:16:47 PM

 Hi buddy,
                                                                                                                    more great times tc
 You must be looking forward to getting back home today, I'm just really happy I got to work with ou on this! Many
                                                                                                                        you get there .
 co.me. Sorry went to bed early last night, we should meet at the newsstand on martin pl and George st. Call me when
                                                                  who sounds  nice and  she's only a phone call away if I need some
 Also I don't need Sandra to come this a.m, I've spoken to Jason
 support . I'll call her a little later anyways. See ya soon
 Jenna

 ----Original Message-----
 From: Sharon .Churcher@mailonsunday.co .uk
 Sent: Wednesday, 16 March 2011 7:51 PM
 To: Virginia Giuffre
 Subject: Your money


 Hotel found a 19-29 Martin Place -- US consulate there . If I get a cab to
 there, will I find the newstand?

 Shazza
 XO


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                                                                                                                                      GIUffRE00375 I
      CONFIDENTIA L
                  Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 8 of 70
  To:       Sharon.Churcher@mailonsunday.co.uk[Sharon .Churcher@mailonsunday.co.uk]
  From:     Jenna
• Sent:     Thur 3/1712011 8: 11 :42 PM
  Importance:          Normal
  Subject: RE :
  Received:            Thur3/17/2011 8:11:42 PM

 Hi shazza,
                                                                                                                         new beginning of a
 You'd still be in the air but hopefully near home by now! We had a wonderful time with you and know this is only a
                                   bring  your hubby  and  rob can show him  a real Aussie BBQ.  Yesterday went well , I set some guideline
 wonderful friendshiR. Next time
 and helped in every way I could, needless to say it took a long time! I would like you to give Brad
                                                                                                                          have been so
  Edwards my phone number or email so that I may speak with him re arding the victims suit and start that off. You
 amazingly informative,    thank you  for everything! Lets speak when  your back  and relaxed. Take care buddy!
 Xoxo
 Jenna

 ----Original Message--
 From: Sharon .Churcher@mailonsunday.co.uk
 Sent: Thursday, 17 March 2011 12:23 PM
 To : Virginia Giuffre


 Darling Jenna and Rob,

 Thank you so much for breakfast...and for finally getting me into downtown
 Sydney. It makes NY look a bit shabby! I loved the old buildings. And did
 you see the little black dresses in the Chanel window display near Martin
 Place??

 Seriously, I am so blessed to have you as friends. It is a wrench leaving
 you - despite everything Jenna has been through, there is a sphere of
 peace around you and your family and going back into the brash world of New
 York isn't going to be easy.

 I do hope today is going well and that Jeffrey gets the vibes of what's
 coming to him and his evil empire.

  I leave at 3.25pm and get in around 11 pm NY time on Thursday.

  Sandra is around if you need her. And I will look forward to catching up
  Friday.

  With a very, very big hug,
  Shazza
  XOxO



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                 Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 9 of 70
  To:       Sharon .Churcher@mailonsunday.co.uk[Sharon .Churcher@mailonsunday.co.uk)
  From:     Jenna
• Sent:     Sat 3/19/2011 11 :45:51 PM
  Importance:          Normal
  Subject: RE :
  Received:            Sat 3/19/2011 11 :45:51 PM

 Hi shazza,
 l just got off the phone with Jason and he confirmed that he does intact have your flight logs and journal. I told him you must remain a
 confidential source and the way he explained it was that all of the info you pass through me will not be used in court, only as a lead fo
 investigation , but he cannot use you as a direct source. He would like your help with the contact information for the following people:
 Teala Davis, miles and Kathy, Emmy tayler, and Sarah kellan . If there is anyone else you can think of that may be viable , please let rr
 know and I will be happy to pass it on.
 Take care buddy,
 Jenna

 ---Original Message---
 From: Sharon.Churcher@mailonsunday.co.uk
 Sent: Sunday, 20 March 2011 9:22 AM
 To: Virginia Giuffre


 Hi there Detective Jenna ...

 Can you ask Jason to regard me as a confidential source. He may be afraid
 of media .. .l can't be seen to be helping him either.

  Re his question: I am told the FBI have the flight logs. They also have
 the journal. It's the document they confiscated from a houseman called
 Alfredo Rodriguez. Maybe Jason means that he wants to know how they
 corroborate the flight to London when you were 'given' to Andrew . Here's
 how: you had photos from that trip - taken in Granada and London -- and
 you recalled going to Paris as well and Morocco. I found that itinerary in
 the logs (you landed at Luton airport near London) . Also Johanna had
 recalled being groped by Andrew one Easter at the NY mansion and that
 Ghislaine sat both of you on his knee. You had an identical memory and
 there was a flight to NY just before Easter in 01 that I found in the logs.
 Love,
 Sharon
 XO


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                Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 10 of 70
  To:       Irene Goodman Jane Doe 2
  From:     Virginia Giuffre
• Sent:     Fri 3/25/2011 8:32:51 PM
  Importance:          Normal
  Subject: Re: Virginia Roberts-Jane Doe 102- Jeffrey Epstein & Prince Andrew Story
  Received:             Fri 3/25/2011 8:32:51 PM

   Hi Irene,
   Sony about the confusion, maybe I misunderstood. So you are a lit agent? I am gomg to be selling m book soon after Ju
   maybe we will be in touch then. I ho2e you are well and thank you for your time.

   Regards,
   V. Roberts

   --- On Thu, 24/3/11, Irene Goodman <irene@irenegoodman.com> wrote:

    From: Irene Goodman Jane Doe 2
   Subject: Re: Virginia Roberts-Jane Doe 102- Jeffrey Epstein & Prince Andrew Story
                          Jane Doe 2
   To: "Virginia Giuffre"
   Received: Thursday, 24 March, 2011, 2:51 PM

   Virginia,

   I don't publish books--! represent them and sell them to publishers. If you have a proposal, I'd be happy to take a look
    at it.

   Irene

   On Wed, Mar 23, 2011 at 7:53 PM, Virginia Giuffre       Jane Doe 2                  wrote:

     Hello Irene,
       You came highly recommended from my good pal Sharon Churcher, a journalist who works for Sunday Mai
     She mentioned to me that you ublish books back in N.Y and thought it would be a great idea to contact you
     talk about "The Billionaires Playboy Club" a book that I am currently writing, including names of the rich, fam<
     and always in trouble. If you are interested in speaking further about this I would love to chat with Y,OU someti
     I am still under a contract until May 20th, so It could only be off the record for now.

     *Please keep this email strictly confidential*
      Sincerely,
     Virginia Roberts




    Irene Goodman Literary Agency
    27 West 24th St. Suite 700B
    New York, NY 10010
    (212) 604-0330




                                                           Page 9 of 69                                         GIUHRE004032
      CONflDENTIAL
                 Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 11 of 70
  To:       Sharon.Churcher@mailonsunday.co .uk[Sharon .Churcher@mailonsunday.co.uk]
  From:     Jenna
• Sent:     Sat 3/26/2011 12:52:38 AM
  Importance:          Normal
  Subject: RE : Solo query from Virginia Giuffre
  Received:            Sat 3/26/2011 12:52:38 AM

 Hi shazza,
                                                                                                                in handy! I am doing some writing
 How's it going in snowy n.y? I am using your gift the thesaurus , thanks again buddy its really come
                                                             down  for  the  first time.  Hopefully  meeting  Sandra  today and I can really get
 and its real good stuff, putting alot of heartfelt memoirs
                           to Irene and jarred  to let them know I will  be interested    in using them  after my  contract is up and jarred asked
 started! I sent an email
                                                                                love  to catch  up over the phone   when  you  get a sec. Take care
 me to call him but gave me no number. Crazy, huh? Anyways I would
 buddy!
 Jenna

 -----Original Message-----
 From: Sharon.Churcher@mailonsunday.co .uk
 Sent: Thursday, 24 March 2011 12:23 AM
 To : Virginia Giuffre
 Subject: Fw: Solo query from Virginia Giuffre


 Hi Jenna
 Let me know if you hear from this guy.
 s
 XO


     ---- Original Message -----
     From: John Wellington
     Sent: 23/03/201113:11 GMT
     To: Sharon Churcher
     Subject: Re : Solo query from Virginia Giuffre
  I have asked Paolo Silva in Solo to contact Virginia.

  John

  (Embedded image moved to file : pic06618.jpg)

  From John Wellington
  Managing Editor
  The Mail on Sunday
  2 Derry Street
  London W8 5TS

  Telephone: (+44) 20 7938 7012
  Fax: (+44) 20 7795 6696.




                                                    To
                             Jane Doe 2

            Sharon            "Vir i •   •    "
            Churcher/Feat/TMO       Jane   Doe  2
            S/ANL                               Subject
                           Solo query from Virginia Giuffre
            22/03/11 22:49




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         CONflDENTI AL
              Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 12 of 70




Hi John

Virginia has not received an accounting . Can you ask Solo please?
(Virginia's email is above)

Sharon



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     CONf-lDENTIAL
                  Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 13 of 70
 To:       Sharon.Churcher@mailonsunday.co.uk[Sharon.Churcher@mailonsunday.co.uk)
 From:     Virginia Giuffre
·sent:     Sun 3/27/2011 5:15:33AM
 Importance:           Normal
 Subject: RE: Solo query from Virginia Giuffre
 Received:            Sun 3/27/2011 5:15:33 AM

  Hi Shazza,,
  Just got the house sprayed so were saying "bye-bye" to all the redbacks and other vennon ..lol! !
                                                                                                             well, everytimt
   l had a meeting with Sandra and it went really well, thanks for the connection!! The book is going really
  rewrite it, my memories only reflect more and more!!!
                                                                                                                   in speaki:
     will try and contact Jarred on the number you gave me, thanks for that, and let him know that I am interested
  wi th him but he's gonna have to wait... with the rest of thcm ... hc he ... until my contract finishes.

                                                                                                           ! well let me kno
   I haven't heard anything back yet from the people regarding syndicates, maybe there's just too many :)!
  when you have an idea when you hear something, thank-you buddy.

  Take Cares,
  Jenna




                                                                                                                      wrote:
   --- On Sat, 26/3/11, Sharon.Churcher@mailonsunday.co.uk <Sharon.Churcher@mailonsunday.co.uk>

    From: Sharon.Churcher@mailonsunday.co. uk <Sharon. Churcher@mailonsunday.co.uk>
   Subject: RE: Solo ue from Virginia Giuffre
   To: "Jenna" Jane Doe 2
   Received: Saturday, 26 March, 2011, 1:15 AM

   Hey that's great. You are a real writer.. .. .I think I told you the only
   incentives that get me going are deadlines and/or cash! Just remember to
   put me in the acknowledgments!!!! Jarred is moving offices. His number is
   or was Jane Doe 2

   Did you hear from Solo, the syndication agency?

   And how are the redbacks and roos treating y'all?

   s
   XO




                                                                                                                        may be
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- ,To:       Jane Doe 2
   From:     Jenna
• Sent:      Tue 4/5/2011 11 :08:09 PM
   Importance:         Normal
   Subject: RE: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story
   Received:           Tue 4/5/2011 11 :08:09 PM



 Hi jarred,
 I have no idea how you could've been on hold, I didn't get any messages or missed calls are you sure you dialled the right number, if so I an
 really sorry. I will call you today, my apologies again.
 Regards,
 Jenna



 From: Jarred Weisfeld
 Sent: Wednesday, 6 April 2011 2:21 AM
 To: 'Virginia Giuffre'
 Subject: RE: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story

   I called and was on hold for like 30 mins and had to go

   Thanks ,
   Jarred Weisfeld
   lljective Entertainment
   Jane Doe 2

   Please note our new address as of April 15th, 2010
   609 Greenwich St. 6th floor
   New York, New York 10014


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   further disseminate, distribute, or forward this E-mail message. If you have received this E-mail in error, please notify the sender and delete the material from any computer.
   Thank you for your cooperation, Objective Entertainment.


    From: Virginia Giuffre Jane Doe 2
  Sent: Monday, April 04,
  To: Jarred Weisfeld
  Subject: RE: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story

    HI Jarred,

    I tried to give you a call today and left a message for you. Is there a good time I should try to call you or alternatively you
    can call me on my mobile.
                           Jane Doe 2
     MOB:

    Warm est Regards,
    Jenna
                                                               Jane Doe 2
    --- On Tue, 29/3/ll, Jarred Weisfeld                              wrote:
                                       Jane Doe 2
    From:  Jarred Weisfeld
    Subject: RE: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story
                                        Jane Doe 2
    To: '"Virginia Giuffre'"
    Received : Tuesday , 29 March, 2011, 3:15 PM




    -
    Jane Doe 2



    Th anks ,


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• Jarred Weisfeld

  Objective Entertainment

  Jane Doe 2



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  your cooperation , Objective Entertainment.




  From: Virginia Giuffre Jane Doe 2
  ~~~t: WednesdaY, Marc
      Jane Doe 2
  Subject: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story




  G'day Jarred,




    You came highly recommended from my good pal Sharon Churcher, a journalist who works for Sunday MaiL She
  mentioned to me that you roduce miniseries back in N,Y and thought it would be a great idea to contact you to talk: abou
  "Tlie Billionaires Playboy Club" a book tliat I am currently writing, including names of the rich, famous and always in
  trouble. If you are interested in speaking further about this I would love to chat with you sometime. I am still under a
  contract until May 20th, so It could only be off the record for now.




   *Please keep this email strictly confidential*,, Thanks Mate!!


   Sincerely,


   Virginia Roberts




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 _.,To:         Jarred Weisfeld Jane Doe 2
   From:        Virginia Giuffre
• Sent:         Wed 4/6/2011 11 :02:49 PM
   Importance:             Normal
   Subject: RE: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story
   Received:               Wed 4/6/2011 11 :02 :50 PM
   J.E Article .webarchive
   J.E Jailtime.webarchive
   Local News West Palm Beach. Palm Beach County. Martin & St. Luc ie Counties The Palm Beach Postwebarchive
   Prince Andrew may be quizzed as FBI reopen Jeffrey Epstein sex case Mail Online.webarchive

  Hi Jarred,
  Really sorry again about the other day, I questioned my husband and father·in•law and nobody knew anything, and it's really weird becaus1
  nobody calls me Virginia at home, so anyways it's a mystery unsolved. lol

  Here are some of the articles pertaining to the J.E case and i.e "The Story" as requested.

  I look forward to speaking with you again shortly!!!

  Take Care,
  Jenna

  - On Tue, 5/4/11, Jarred Weisfeld Jane Doe 2                                                     wrote:
                                    Jane Doe 2
   From: Jarred Weisfeld
  Subject: RE: Virginia R ~Jane   ili Doe
                                        e 102·
                                           rt  Jeffre
                                                 s ·Epstein and Prince Andrew Story
  To: "'Virginia Giuffre'" Jane Doe 2
  Received : Tuesday, 5 pril, 2011, 4:21 PM

   I called and was on hold for like 30 mins and had to go

   Thanks,
   Jarred Weisfeld
   Objective Entertainment
   Jane Doe 2

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   Objective Entertainment .

                                                                                        ··-····-··············-·-············· - - - - - - - -
   From: Virginia Giuffr Jane Doe 2
  Sent: Monday, April 04, 201 I 8:24 PM
  To: Jarred Weisfeld
  Subject: RE: Virginia Roberts• Jane Doe 102· Jeffrey Epstein and Prince Andrew Story


   HI Jan-ed,

   I tried to give you a call today and left a message for you. ls there a good time I should try to call you or alternatively yo
   can call me on my mobile.
    MOB: Jane Doe 2

   Wannest Regards,
   Jenna
                                                                   Jane Doe 2
   --- On Tue, 29/3/11, Jarred Weisfeld                                rote:
   From:-        Jane Doe  2
   Subject: RE: Virginia Robe11s· Jane Doe 102· Jeffrey Epstein and Prince Andrew Story
                            Jane Doe 2
   To: '"Virginia Giuffre"'
   Received: Tuesday, 29 March, 2011, 3: 15 PM


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     Thanks,

     JaITed Weisfeld




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     From: Virginia Giuffre 'j
                             Jane Doe 1 •2} ]
     Sent: Wednesday, Marcli L5, LUI 1:41 t'M
        Jane Doe 2
     To
     Subject: Virginia Roberts- Jane Doe 102- Jeffrey Epstein and Prince Andrew Story




     G'day Jarred,




       You came highly recommended from my good pal Sharon Churcher, a journalist who works for Sunday Mail. She
     mentioned to me that you produce miniseries back in N.Y and thought it would be a great idea to contact you to talk abo
     "The Billionaires Playboy Club" a book that I am cmTently writing, including names of the rich, famous and always in
     trouble. If you are interested in speaking further about this I would love to chat with you sometime. I am still under a
     contract until May 20th, so It could only be off the record for now.




     *Please keep this email strictly confidential* .. Thanks Matell


      Sincerely,




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. • Virginia Robe1ts




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 ...

..
       To:       Sharon.Churcher@mailonsunday.co.uk[Sharon.Churcher@mailonsunday.co.ukJ
       From:     Virginia Giuffre
       Sent:     Mon 5/2/201 1 11 :28:30 PM
       Importance:          Normal
       Subject Re:
       Received:            Mon 5/2/2011 11 :28:30 PM

        HI Buddy ,
        So mucb has been happening lately .J haven't even had the chance to catch up with you, my a ologics!! I have been
                                                                                                                  1

        working rcall hard on "Tbc Story" aud loving it! Only 17 da  s until the  contract is  finished with Mail Ou Sunday and I am
        so excited l will soon be scllinQ m book to a publisher and who knows    from  tbcrc ...YEAH!!  . .

        I was sent a message by Brad Edwards wbo suggested that maybe it could be a g__ood idea 10 sr.>eak with the gentleman from
        :Vanity Fair when ID)' cootrnct is finished as it is a great way ro gain ublicity for my book and the case, as long as I can
        ensure that the writer brio1?s the story out in a classy way and does nots ill the beans on the major ans of the sto . I am
        considering it as long as my needs and conditions are met. Do you have any major concerns that could sec this potentially
        hindering anything? lf so please let me know as i do trust in yon as my wonderful confidante.

        Sandra is still in England covering the wedding, hopefully she'll be back soon to start some serious work with me. J have
        received her version of the raw synopsis and so far so good. I look forward to seeing the finale!!

        Much Love xoxoxo
        Jenna

        -- On Mon, 2/5/ll, Sharon.Churc her@mailons uoday.co.uk <..\'ht1ron.Clrrm:/re,@J1111iluns11mlaJ>.co.11k> wrote:

         From : Sharon.Churcher@mailonsuoday.co.uk <Sharon.Churcher@mailoosunday.co.uk>
        Subject:
        To: "Virginia Giuffre" Jane Doe
                                     _ 2 _ __
        Received: Monday, 2 May, 201 I, 3:34 PM


         Hi sweetheart

         How is the book going?

         I thou~t I should catch u with you because Vani • Fair are doin an
         Andrew piece and Brad says their writer Ed Klein, wants to interview you .

         My strong instinct is not to help him - not lo even take ]tis calls -- as
         there is JlO upside in ·ving awav one of THE selling ints of the book:.
         (lltis crazy wedding hoopla should be great timing in LCllIIS of getting
         publishers interested ..).

         See you in June!

         Love,
         Shaza
         XOxO




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To:       Sharon. Churcher@mailonsunday.co.uk[ Sharon .Churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent      Tue 5/3/2011 1:01 :39 AM
Importance:          Normal
Subject: Re: Re: Do you recognize this girl?
Received:            Tue 5/3/2011 1:01:39 AM

 My God that sounds just like your cup of tea ...NOT! ! You poor thing, at least it can't be as bad as the customer service at
 the Crown Plaza.__be ..he .. be! ! Have fun buddy
 Take Care,
 Jenna

 --- On Tue, 3/5/11, Sbaron.Church er@mailonsuud ay.co.uk <..~/1nro11. CJ1urcher@p111i/011smulflJ1.co.11k> wrote:

  From : Sharon.Churcher@mai lonsunday .co. uk <Sharon.Churcber@mai lonsunday. co. uk>
 Subject Re: Re: Do yo~
                         Jane Doe 2
 To: "Virgioja Giuffre'' ~
 Received: Tuesday,  3  May, 2011, 12:54 AM

 Exccllcotly said, Jenna. Now let's just hope he docs a GREAT pr job.

 I am off to the UK torught -- to see my mom and for a company "war zone"
 training course. Tdca of the latter is that ex Special Forces guys teach us
 wbat to do if we are shot at or kidnapped .... dumbest thing I ever beard of
 unless they plan to arm us with machine guns.

 I will be on my usual email and cell phone. Get back to NY on May 17th.
 Hugs to you all,
 Sbazza
 Xcxc


 1----->
 jFrom: I
 1-------->
  >----------- ------------- ------------- ------------- ------------- ------------- ------ ---------1
   jVirgirua Giuffre Jane Doe 2                                                                                 I
   >------------ ----------·-- ------------- -------··---- ------------- -··---------- -----------·-I
 1------->
 !To:      I
 1--- ·--->
   >-------·----------------------- - -- ·------------ -----------------------------------------------------·I
   !Sharon Cburcher                                                                       I
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Shazz-a,
I LOVE YOUR WORK!!!! Read below this is what Talso just sent him , I can't
thank my lucky stars enough to count ou as oue of my friends ...my dee est
appreciation for your concern!!!
Wannest RcgardsJcru1a

-- On Tue, 3/5/ I J, Virginia Giuffre ·Jane Doe 2                   wrote:

From : Virginia Giuffre Jane Doe 2
Subject: Re: Do you recognize th.is girl?
To: "Brad Edwards" <brad@pathrojustice.com>
Received: Tuesday , 3 May , 2011, 12:36 AM

Hi Brad,
I am so sorry to hear \he news ofRuslana, and my condolences are with her
family and friends . 1 can say that I have never bad any meelings with her,
sorry not to be of any help there.
With the Vanity Fair piece, [ spoke to Sharon Churcher who had some great
Q9intcrs about why I shouldn't ivc him an exclusive about the case. First
of all "The Story" is full of names of peo le involved in m years s ent
with J.E and I wouldn't want to SJ)Oil the details in my book. See-0ndly lf
J.E finds out that I am doing a book be may try to stop me from publishing
it,
Im sure he has bis ways through his many various contacts, and thirdly I
want to have this book on the shelves for the audience to go buy the second
that my publicity starts. In saying that l still believe it is great
publici!Y for our case and probably a good idea for you to s eak with him
about the case instead of me. If written the right way and brought out as
you having a key witness now speaking with authorities or what not, they
could even use a simple picture ofme to spice it up. I just don't want my
last name "Giuffre" mentioned or the fact that there is a book in the
makings. What do you think about all of this? It will be very helpful to
hear your opinfon tomorrow when we speak.
[ hope you have been doing well and staying busy fighting one scandal at a
time!!
Best Regards,Jeooa -- On Mon, 2/5/l 1, Brad Edwards
<12.r:fill@P-atbtoj us rice.com>
wrote:

From: Brad Edwards <brad@pallnojusticc.com>
Subject: Do you recognize this id?
To: "'Virginia Giuffre"' Jane Doe 2
Received : Monday, 2 May, 201 I, 2:09 PM

r think it is a long shot that you would recognize her, but read the
article r attached and then look at the pictures and see if you recognize
her_ I will cnll you tomorrow.
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To:       sharon churcher(sharon.churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent:     Wed 5/4/2011 4:46:50 AM
Importance:          Normal
Subject: Fw: RE: Virginia Roberts- How's the wedding?
Received:            Wed 5/4/2011 4:46 :50 AM

 Hi Shazza ,
 I just got this message in from Sandra and was wondering what you think about her increase in percentages. I'm not sure what to respond,
 when you get this message do you mind giving me a holler, as I would ap reciate our advice .

 As Always Appreciative,
 Jenna

 -     On Tue, 3(5/11, Sandra White Jane
                                    -    Doe 2                    rote:

  From: Sandra White Jane Doe 2
 Subject: RE: Viroinia Roberts- How's the wedding?
 To:Jane Doe 2
 Received: Tuesday, 3 May, 2011, 4:18 PM

 Hi Jenna
 Good to hear from you - so nice to gel an email that wasn't connected to work! I have been doing seven days a week on this wedding
  and I even wrote five pages yesterday!
 However, that will probably be the last of the heavy workload I should think.
 As far as the mid June deadline goes, nothing is impossible but you don't want to sell yourself short. All you need for any meetings with
   agents is a strong proposal (which ours is, though not complete) and a sample chapter or two.
 But, as you mentioned before, we need to gel things on a more formal footing between us before we progress much further.
 I have been in touch with agents here to confirm what I thought and ghost writers' percentages vary from 50-50. Seeing as though you
  are doing a lot of the initial work yourself, I thought it would be fairer if we worlked on a 7-30 split, in your favour.
 Let me know what you think, then we can gel an agreement written up between us and move on. bring ii on!
 Hope you are feeling well and that Robbie and the kids are well.
 Yours
 Sandra




 ~~~ Mon
     Jane2Mav22811 KHBi -0100
         Doe
 Subject: Virginia Roberts- How's the wedding?
 To: Jane Doe 2

 Hi Sandra,
   I am glad for you the big wedding is now over, and we can start looking al getting this book up and running. I have had some big named
 mag's trying to contact me for some pieces on "the story" and some one else from an editing agency wanting to do a story themselves, so
 need to get busy. I have done a lot of work and when you are ready, I'd love for us to coincide our writing. Mid- June is when I am going tc
 in the States, and would be my deadline to have this book nearly finished, if not completed. Do you see this as a possibitity?I am looking r,
 forward to speaking with you soon, and only 17 more days until my contract is up with Mail On Sunday... Yeah!! Take Care Buddy.

     Warmest regards,
     Jenna




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      CONFIDENTIAL                                           Page                                                            Glllff-RE00-1071
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                                                                   6 of  69
                    Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 26 of 70
-   To:       Sharon.Churcher@mailonsunday.co .uk[Sharon.Churcher@mailonsunday .co.ukJ
    From:     Virginia Giuffre
    Sent      Fri 5/6/20111 :20:10 AM
    Importance:          Normal
    Subject: Re:
    Received:            Fri 5/6/2011 1:20:1 0 AM

     Hi again buddy,
       I thank you for looking into the percentages of Ghostw1iters . I honestly don't know what to do regarding her offer. Whal
     do you think about her status compared to another Ghostwriter that charges the same rate? I just want to know she's wortJ
     in the end. She said she conferred with her agents in London and they supposedly said it's nonnally 50% cur between boll
     writers but because I'm doing most of the work she will generously give me 70% and she'll take 30%. I guess the advanta
     of hiring her is that she is local and can help get INT'L coverage, but should I be waiting to sign witb an agent before ber
     and I agree to anylbiug? 1 haven't responded back to her yet hoping you could advise me on the best route to take her. l
     know you have a wealth of experience in this field and I completely trust in your guidance.

     How is it on the front line? I hope your having a good vacation/training aod enjoying time witb your Mother. Take care o
     yourself and I look forward to bearing from you soon.

     Warmest Regards,
     Jenna

     - On Wed, 4/5/11, Sharon.Churcher@mailonsunday.co.uk <ShnrorLClturcher@mnilons11nday.co.uk> wrote:

      From : Sbaron.Cburcher@mailonsunday.co. uk <Sharon .Churcher@majlonsunday.co.uk>
     Subject:
     To: "Virginia Gluffre"Jane _Doe 2
     Received : Wednesday, 4 May, 2011 , 9:18 PM


     Hi Jenna
     Thirty percent is the going rate, at least for to~ ghost writers. I checked
     with my friend .
     Havia said which, my advice would be to negotiate since you arc doing so
     much of the work. I would offer 30 percent of your "net"advance

     (the advance is an upfront fee from the publisher...
     The net advance is the money you receive after the agent talces his or her
     percentage which is usually JO to 15pc. )



     s
     XO



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                                                                 7 of  69                                          CIUffRE(l().1072
              Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 27 of 70
To:       sharon churcher[sharon.churcher@mailonsunday.co..uk]
From:     Virginia Giuffre
Sent:     Tue 5/10/2011 10:00:56 PM
Importance:          Normal
Subject: Good News!!
Received:            Tue 5/10/2011 10:00:56 PM

 Hi Sharon,
 Hello gorgeous, I hope this message comes to you on a bright, sunny day!!! I took your advice about what to offer Sand11
 and she accepted. Were drawing up a contract through her agent right now aod getting busy to meet my deadline. Just
 wondering if you have an infonnation Of!..YOU from when you and 1 were doing interviews about the J.E story. I wanted 1
  ut the names of some of these assholes co s I meant to say, pcdo's that J.E sent me to. With everything going on my
 brain feels like mush and it would be a great deal of hel !
 Having fun sweetie?

 Thanks,
 Jenna




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   CONr-IDENTlAL                                     Page 26    69
                                                          15 of 64                                        GIUrTRE004075
             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 28 of 70
To:       Sharon.Churcher@mailonsunday.co.uk[Sharon.Churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent      Thur 5/12/2011 2:21 :43 AM
Importance:          Normal
Subject: Re : Good News!!
Received:            Thur 5/12/2011 2:21 :43 AM

 Thanks a0 ain Shazza, I'm bringing down the house with this book!!!
 xoxo Jenna

 -- On Wed, 11/5/11, Sharon.Churcher@mailonsunday.co.uk <....S'haron.Clwrcl1er@111ailo11sumlay.co.11k> wrote:

  From : Sharon.Churcher@mailonsunday.co. uk <Sharon. Cburcher@mai lonsunday .co.uk>
 Subject: Re: Good News!!
 To: "Virginia Giuffre"Jane Doe 2
 Received: Wednesday , I l May, 20 l l, 4: 17 PM

 Don't forget Alan Dershowitz .. .JE's buddy and lawyer..good name for your
 pitch as he rci:m.ed Claus von Bulow and a movie was made about that
 case ...title was Reversal of Fortune. We all suspect Alan is a pcdo and tho
 no proof of that, you robably met him when he was hanging ut w JE


 1--->
 !from:          I
 1-------· >
  >-----------------------------------------------               --------------------------------------------------1
  !Virginia Giuffre Jane Doe 2                                                                                     I
                           ·-----------------------------------------           ------------------------------------------1
 !-------->
 ITo:        I
 1------>
  >------------------------------------------------- - - - ------------------------------------1
  !Sharon Cburcher                                                                                        I
  >---------------------------------------------------------------------------------------------------1
 1--------->
 IDate:    I
 1-------->
  >---------------------------       ------------- ·---------------------------------------------------------------------1
  II0/05/201 l 23:00 GOT                                                                                      I
  >------ -------------------------------------------------------------------------------------------1
 1--------- ' >
 !Subject:       I
 1-------->                                                                                   .
   >----------------------------------------------------------------------------------------------------------1
  IGood News!!                                                                                        I
  >---------------------------------------------------------------------------------------------------------------------------1



 1---------------------------------------------------          ·----1
 IHi Sbaron,                                           I


 I                                             I
 IHello gorgeous, 1 hope this message comes to you on a bright, sunny d,iy!! !I
 II took your advice about what to offer Sandra and she accepted. Were    I

 !drawing up a contract through her agent iight now and getting busy to meet!

   11 Copynghr Pro1cc1cd Malena!
   CONFIDENTIAL                                            Page 27    69
                                                                16 of 64                                           GIUFrRE004096
              Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 29 of 70
!my deadline. Just wondering if you have any info1mation on you from when
jyou and Twere doing interviews about the J.E story . I wanted to put the I
!names of some of these assholes, oops, r meant to say, pedo's, that J.£ I
!sent me to. With evet)·rhing going on my brain feels like mush and it would!
lbe a great deal of help!                               I
!Having fun sweetie?                                     I
I
!Thanks,                                              I
!Jenna                                            I
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    CONFIDENTIAL                                          Page 28    69
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                    Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 30 of 70
•   To:       sharon churcher[sharon .churcher@mailonsunday .co.uk]
    From:     Virginia Giuffre
    Sent:     Fri 5/13/2011 10:03 :54 PM
    Importance:          Normal
    Subject: Fw: Re : Solo Syndication
    Received:            Fri 5/13/2011 10:03 :54 PM

     HI Shazza,

     We are starting to freeze out here in Australia as winter closes in fast...burr!!
     How are things for you? Are you still out in the U.K or back in N. Y .C?
     I was hoping I could confide in your advice again . aulo sent me the below messages
     regarding the syndicates and from the last time hfm and I emailed and I have actually lost $300-
     lf you look at the long list of big named companies that would mean my story/picture was only sold for
     $600 each . I am only looking out for my best interests and know you would do the same . I haven't
     told anyone that I am asking you thfs, not wanting to rock the boat, I just know your experience
     in the field far exceeds mine and would love your input! I hope all is well for you and your own
     and taking care, as always!!

     xoxo Jenna




     -    On Fri, 13/5/11, Paulo Silva <psilva@solosyndication.com> wrote:

      From: Paulo Silva Jane Doe 2
     Subject: Re: Solo Syndication
     To: "Virginia Giuffre" Jane Doe 2
     Received: Friday, 13 May, 2011, 12:49 PM

     Hi Virginia,
     I have now spoken to our accounts. This is how it stands:

     Total amount owed to you - £4,175
     Amount ready to be paid to you - £ 1,825
     Amount still to be received - £ 2,350

     Obviously we are stfll chasing the outstanding amount. 1know you requested that the whole payment be made to you when ready, but if you wish
      I am happy to arrange for the initial amount to be paid, and the remaining amount to be paid once received from our clients? Let me know your
      thoughts.

     Regards,
     Paulo Silva
     Senior Sales Executive, Photos
     Solo Syndication
     Tel: +44 (0)207 566 0364
    Jane Doe 2


     From: Virginia Giuffre Jane Doe 2
     Date: Thu, 12 May 201122:52 :13 -0700 (PDT)
     To: Paulo Silva Jane Doe 2
     Subject: Re : Solo Syndication

         Hi Paulo,
         Were only a week off from my contract finishing with the Mail On Sunday and I was wondering if you have received the full amount owed f
         the syndicates . I thought it'd be a good idea to check in and see how it was alt tying up. I hope you and yours are well, and taking care.

         Sincerely,
         Virginia Roberts

         - On Fri, 1/4/11, Paulo Silva Jane Doe 2




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          CONf-lDENTIAL                                             Page 29    69
                                                                         18 of 64                                                     GIUf'FRE004108
              Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 31 of 70
To:       sharon churcher[sharon.churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent:     Fri 5/20/2011 2:20:09 AM
Importance:          Normal
Subject: How ya doing??
Received:            Fri 5/20/2011 2:20:09 AM

 Hi Buddy,
 I hope you are stopping to smell the daffodils once in a while and having a good day!! I am so excited today because I ca:
 go sign with an agent as my contract is finished with "Mail On Sunday"...YEAH! ! Sandra and I have heen working really
 hard to get me read for my tri to the U.S in a few weeks and I was wondering ifI could use your advice again. She has
 got an INT'L agent who is interested ins caking with me and I don't want to say "Yes'' to the first bite because l'm not su
 what to look for in an agent. What could you recommend chat I do? J will send Jarred and Irene (your recommended agen
 a copy of the sxno sis and sam le cha_Qters but how do I choose the right one for "The Story"? Do you know anyone else
 that might be interested in this as well? lf so, i am keen on speaking with anyone who might be. I am soooooooo excited
 about this and will kee_p you uQ<lated with the_.P.rogrcssin events. When I am in New York we have to meet up for some
 city shopping and take the kids to Central Park to see the Zoo, given there will be no masturbating kangaroo's for you to
 make friends with, but who know's? I am looking forward lo showing Robbie around and he's got some family out there i
 well we have to catch up with. Such busy times, but rm loving it!! Anyways 1 hope your taking care and catch me up on :
 your fun times!!

 Take care,
 Jenna




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                                                           38 of 64                                          GIUHRE00395!>
             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 32 of 70
To:       sharon churcher[sharon.churcher@mailonsunday.co.ukJ
From:     Virginia Giuffre
Sent      Sat 5/21/2011 8:42:10 PM
Importance:          Normal
Subject: What do you think of this?
Received:            Sat 5/21/2011 8:42:10 PM

 Hi Sharon,
 Sandra and I are jusr about to start sending prologues out when she finally got back to me wi rh a contract After our last
 discussion to take 30% off the ner advance for her being the ghostwiiter, and no electroojc rights, she has now sent me th
 any advance, royalties, serialisation rights, book club rights, film tights and TV rights will be split between them 70 -30,
 Virginia Giuffre's favour, after any agent's commission.
 She bas got all of tbe info to w1ite a story by herself if she wanted too, can she legally?
 Please give me a call or let me know a good time to reach you, I don't know how to respond back to this when we are so
 close to the end.

 Much Thanks,
 Jenna




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      CONFIDENTIAL                                    Page 31    69
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             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 33 of 70
To:       Sharon Churcher(Sharon.Churcher@mailonsu nday .co.uk]
From:     Virginia Giuffre
Sent:     Mon 5/23/201 1 10:20:27 PM
Importance:          Normal
Subject: Re: Whal do you think of this?
Received:            Mon 5/23/2011 10:20:27 PM

 Hi Sbazza,

 l replied back to Sandra, in a very nice but business like way, and have not beard from her since, insinuating that she mig
 be offended that 1 am not paying her what she wants. I need to start look.ino at alternative ghostwriters and was ho ing ye
 could oint me in the right direction and what their financial interests arc. Once a •ain ou alwa s come through, Thanks
 Matey!!

 xoxox
 Jenna

 --- On Sat, 21/5/11, Sharon Churcher <Sharo11.Ch11rcher@mailonsumiay.co. 11k> wrote :

  From: Sharon Churcber <Sharon.Cburcher@mailonsunday.co.uk>
 Sub·ect: Re : What do ou thinkoftbis?
 To: Jane Doe 2                 Jane Doe 2
 Received; Saturday, 21 May, 201 I, 8:47 PM

 I was delayed gelling back 10 the US so apologize fo r not replying sooner. My ndviee is you :
 l stick to original deal and retain all electronic rights
 2 sign nothing. Keep the agreement verbal until you have an agent Jo do a collaboration agreement
 3 send Sandra a note confinning the co right in all dealings with her is reserved by you ending a collaboration agreement

 From: Virginia Giuffre Jane Doe 2
 Sent: Saturday, May 2 1, 2011 09:42 PM
 To: Sharon Cburcher
 Subject: What do you think of Lhis?

  Hi Sharon,
  Sandra and I are just about lo start sending prologues out when she finally got back to me with a contract. After our last
  discussion to take 30% off the net advance for her being the ghostwriter, and no electronic rights, she has now sent me tl
  any advance, royalties, serialisation rights, book club rights, film rights and TV rights will be split between them 70 - 3C
  Virginia Giuffrc's favour, after any agent' s commission_
  She bas got all of the info to write a story by herself if she wanted too, can sbe legally?
  Please give me a call or let me know a good time to reach you, I don't know bow to respond back to this when we are so
  close to the end.

  Much Thanks,
  Jenna




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              Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 35 of 70

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Frum: Virg1nla Giuffre Jane Doe 2
Sent'. Mond11y, May 23, 201 1 11:20 PM
To: Sharon Churcher
Subject: Re: Wiat do you think of this?

HiShazza,
                                                                                                                                 be offended lhal
I replied back to Sandra, in a very nice but business like Wi!if, and nave not t1earo from her since, insinuating that she might
                                                                                                                               the right direction
am not paylng her what she wan)s. I need to start looking at alternative ghostwriters and was hoping you could point me in
and what their financial lnteresls are. Once again you always come througti, Thanks Matey!!

xoxox
Jenna

·- On Sat, 21/5/11, Sharon Churcher <Sharon.Churcher@maJlonsunday.co.tJk>wrote:

 From: Sharon Chun:her <Sharon.Churcher@rrailonsunday.co.ul(>
Su     • •                 •        i 7
To: Jane Doe 2                 Jane Doe 2
Received: Sal\Jrdey, 21 May, 2011 , 8:47 PM

 I was delayed getting back lo the US so apologize for not replying sooner. My adViCe is you :
 1 stick lo original deal and retain all electronic rights
 2 sign nothing. Keep the agreement verbal until you have an agent to do a collaboration agreement
 3 send Sandra a note confirming the copyright in all dealings with her is reserved bY you pending a collaboration
  agreement

 From: Virginia Giuffre Jane Doe 2
 Sent Saturday, May 21 , 2011 09:42 PM
 To: Sharon Churcher
 Subject: What do you think of this?

  Hi Sharon.
                                                                                                                                          lo take
  Saudra and I are just about to start sending prologues out v.taen she finally got back to me with a contract. After our last discussion
  30% off the net adVance for her being the ghostwriter. and no elecironk: rights, she has now sent me this:
  any advance, royalties, serialisation rights, book club rights, film rights and TV rights will be split between
                                                                                                                                  them 70 -30, i-
  Virginia Giuffre's favour, after any agent's commission.
  She has got all of tbe info to write a story by herself if she wanted too, can she legally?
  Please give me a call or let me know a good time to reach you, I don't know how to respond back to this when we are so
  close to the end.

  Much Thanks,
  Jenna




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             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 36 of 70
To:       Sharon Churcher(Sharon.Churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent      Tue 5/24/2011 11 :07:04 PM
Importance:          Normal
Subject: Re: Book!
Received:            Tue 5/24/2011 11 :07:04 PM

 I thank my mucky stars to have a good fiiend like you!!! .. .Jenna

 --- On Tue, 24/5/1 I, Sharon Churcher <Shoron.Clwrcher@mailon undoy.co.uk> wrote:

  From: Sharon Churcher <Sharon.Churcher@rnailonsunday.co.uk>
 Subject: Book!
 To: "Sandra White 1   Jane Doe 2                Jane Doe 2
 Cc: "Virginia Giuffre
 Received; Tuesday , 24 May , :tu I L, 1u :4l:S PM


 Hi Sandra



 How's it all going?



 Virginia just emailed me askin suggestions about agents. I assume you&!:! s Ian to share one as that will keep the
 commission and collaborations agreement costs down? She also wasn't sure about the norm withs lits one ectronic
 rights .... .I think the agent can advise you both on the latest industry norms as it all has changed so much with the
 Internet.



 A al of mine (David Heymann) bas said to use his name with his agent Mel Berger, who is the top guy at William
 Morris in NY.



  s that O with you? I know you have your own rep so thought I should check.



 Love,



 Sharon



 PS We arc out of contract with Virginia but are ho ing to buy first serial to the boo!< o course ... did she tell you
  Vanity Fair are t[Ying to find her? We aren't helping them and have refused to tell them her manied name ... .I am not
  going to give it to Mel as he tends to be a bit of a gossip and knows the VF crowd.


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To:       Sharon Churcher[Sharon.Churcher@mailonsu nday .co. uk)
From:     Virginia Giuffre
Sent:     Tue 5/24/2011 10:1 5:28 PM
Importance:          Normal
Subject: Re: What do you think of this?
Received:            Tue 5/24/2011 10: 15:28 PM

 Hi Shazza,
 This is her final reply, I am not very hopeful about using her al}Ymore.
 Do you know of any other reputable Ghostwriters in N.Y.C, I just don't think she is going to
 in be in my best interests. See below email from her this a.m ...



 Hi Jenna
 I am not offended by your comments and I agree with you that this is business but I must say I don't know where you are getting your
 information from. All the research I have done here tells me that ghost writer's are usually working on a 50-50 basis. That is the figure quot,
 in the 2011 edition of the Writers and Artists Year Book. I have never worked on less than 40% but because you were doing a lot of the init
 writing I thought it would be much fairer if my percentage reflected that, that's why I went down to 30%
 I do not know of any ghost writer who relinquished screen rights and serialisation rights . The main reason for thal is, obviously, ii is the gho
 writer's writing and input that has been sold on for screen or serialisation .
 If you want to find someone esle, that is entirely up to you, but those are my terms.
 As for Grant. there is no need to get him to sign a confidentiality agreement because there is no need for him to see the manuscript. He on
 needs to know who you are and that has been in the paper!
 As for sending out to agents, I was going to advise you nearer the time, but 111 do it now. In my opinion your first step should be to make
 appointments to see the people in New York when you go there, taking with you the proposal and first chapter. They know what the story i~
 and they have expressed an interest. You have got your foot in the door to sell yourself and your book. If you send it to them beforehand ye
 are giving them the opportunity lo say no without having met you. And you have a lot going for you personality and intelligence wise so we
 want them to see thatl
 If those meetings don't produce anything, then we send it to other agents.
 I'll get Grant to call you but I have left your phone number at home, so email it to me and I'll pass it on .
 Hope all is well.
 Sandra
 - On Tue, 24/5/11, Sharon Churcher <Sharon.Churcher@mailonsunday.co.uk> wrote:

  From: Sharon Churcher <Sharon.Churcher@mailonsunday.co.uk>
 Su .
 To: Jane Doe 2
 Receive : ues ay,      ay,     , :

 There are 2 top agents who rep writers I know. Let me see what I can do. Did y check on "Grant"?

 From: Virginia Giuffre Jane Doe 2
 Sent: Tuesday, May 24, 2011 03:12 AM
 To: Sharon Churcher
 Subject: Re: 1/vhat do you think of this?

  HI Shazza,
    She did send back a message after I asked If we were stlll on, but very blunl and to the point. She said she has been very busy and that
  it. I don't know what that means but i am meeting with an entertainment lawyer on Friday who is going to write me up an official collaborati
  agreement in hopes to get the ball rolling.I do think I should have a backup plan and appreciate all of your assistance!! I am compiling list
  reputable agents, is there anyone else you can think of besides Jared and Irene? Hope you are all well and your Mother is improving. Tak
  care my friend ..

  xoxox
  Jenna

  - On Tue, 24/5/11, Sharon Churcher <Sharon.Churcher@mai/onsun_day.co.uk> wrote:

   From: Sharon Churcher <Sharon.Churcher@mallonsunday.co.uk>
  Sub·ect: Re: VI/hat do ou think of this?
  To:Jane Doe 2
  Received: Tuesday, 24 May, 2011 . 12:42 AM

  I would phone Sandra and suggest meeting to talk about agents (including Grant, about whom you have every reason to
   ask questions) . At this stage you have enough to sell the book ...and she needs you so I think will be reasonable.
  s
  XOxO



                                                                                                                                 GlUFl'REOOJ972
                                                                Page 37    69
                                                                     48 of 64
             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 39 of 70
To:       Sharon Churcher(Sharon.Churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent:     Tue 5/24/2011 2: 12:09 AM
Importance:          Normal
Subject: Re : What do you think or this?
Received:            Tue 5/24/2011 2:12:09 AM

 Rl Shazza,
  She did send back a message after Tasked If we were still on, but very blunt and to the point. She said she has been very
 busy and that was it. I don't know what that means but i am meeting witb an eote1·tainroent lawyer on Fiiday who is going
 w1ite me up an official collaboration agreement in hopes to get the ball rolling.I do think Tshould have a backup plan and
 appreciate all of your assistaoce!l I am compiling list of reputable agencs, is there anyon e else you can chink of besides
 Jared and Irene? Hope you are all well and your Mother is improving. Take care my friend ..

 xoxox
 Jenna

 --- On Tue, 24/5/ll, Sharon Churcber <Sharon.Cl111rcher@Juailo,mmdny.co.uk> wrote:

  From : Sharon Cburcher <Sbaron .Churcher@mailoosuoday.co.uk>
 Su •                       •       •
 To:Jane Doe 2
 Re   1




 I would phone Sandra and suggest meeting lo ta lk abou t agents (including Grant, about whom you have every reason to ask quest.ions).
  At this stage you have enou h 10 sell the book ... and she needs you so I think will be reasonable.
 s
 XOxO
                       Jane Doe 2
 From: Virginia Giuffre -
 Seo t Monday, May 23, 2011 11 :20 PM
 To: Sharon Churcher
 Subject: Re: Whal do you think of this?

  Hi Shazza,

  I replied back to Sandra, in a very nice but business like way, and have oot heard from her since, insin uating that she nui
  be offended that I am not paying her what she wants. J need to start looking at alternative ghostwriters and was hoping y,
  could point me in the right direction and what their fin ancial interests are. Once again you always come through, Thanks
  Matey!!

  xoxox
  Jenna

 --- Oo Sat, 21/5/11, Sharon Churcher <Sharon.Churcher@Jnailonsunday.co.uk> wrote:

   From : Sharon Churchcr <Sharon .Churchcr@mailoosunday.co.uk>
  Sub · •     •W           u thin of this?
  To: Jane Doe 2
  Received : Saturday , 21 May , 2011 , 8:47 PM

 I was dela)'ed gcumg back 10 the US so apologize fo r 1101 replying sooner My advice is you :
 l stick to origmal deal and retain all electronic rights
 2 sign nothing. Kl!ep the agreement verbal u1ttil you have an ugent to do a collnboration agreement
 3 send Sandra a note confinn ing the copyright in all deal ings with her i reserved b)' you pending a collaboration agreement

 From: Virgima G iuffre _
                            Jane Doe 2
 Sent : Saturday. May 21. 20 11 09.42 PM
 To : Sharon Churc her



     CONf.lDENT IAL                                         Page 38    69
                                                                 49 of 64                                                  GIUfr-REOOJ966
             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 40 of 70
Subject: What do you think or 1hi~?


 Hi Sbaroo,
 Sandra and Tarc just about to start sending prologues out when sbe finally got back to me with a contract. After our last
 djscussioo to take 30% off the net advance for her being the gbostw1iter, and no electronic rights, she has now sent met
 any advance, royalties, serialisation rights, book clu!J rights, film rights and TV rights will be split between them 70 - 3
 Virginia Giuffre's favour, after any agent's commission.
 She has got al I of the info to w,ite a sto1y by herself if she wanted too, can she legally?
 Please give me a caJI or let me know a good time to reach you, I don't know how to respond back to trus when we are sc
 close to the end.

 Mucb Thanks,
 Jenna




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  CONFlDENTIAL                                              50 of 64
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   CONFIDENTIAL                                       Page 40    69
                                                           51 of 64
             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 42 of 70
To:       Sharon Churcher[Sha ron.Churcher@mailonsunday.co. uk]
From:     Virginia Giuffre
Sent:     Tue 5/24/2011 9:49:22 PM
Importance:          Normal
Subject: Re: What do you think of this?
Received:            Tue 5/24/2011 9:49:22 PM

 Hi Shazza,
 I appreciate our assistance, and look fo1ward to any help that you can offer. haven't beard back from her yet with any
 details re Grant. I wiJl send you a message when I know more too!! Much Love ...

 Jenna

 -:- On Tue, 24/5/11, Sharon Churcher <Slu11·011-Churclter@Jn"ilo11szmday.co.11k> wrote:

  From : Sharon Churcber <Sbaron.Churcher@mailonsunday.co.uk>
 Sub .ect: Re: Wl1at do ou think of th is?
 To:Jane Doe 2
 Received: Tuesday,24May,2011, 11 :57 AM~ -

 There arc 2 cop agents who rep writers I know. Let me sec what l can do. Did y check on "Grant"?
 - - - - - - - -Jane Doe 2
From : Virginia Giuffre
Sent: Tuesday, May 24, 2011 03 :12 AM
To: Sharon Churcher
Subject: Re: What do you think of lhis?


 HI Shazza,
  She did send back a message after I asked If we were still on, but very blunt aod to the point. She said she has been ver;
 busy and that was it. 1 don't know what that means but i am meeting with an entertainment lawyer on Friday who is goin.
 write me up an official collaboration agreement in hopes to get the ball rolling.I do think I should have a backup plan an,
 appreciate all of your assistance!! I am compiling list of reputable agents, is there anyone else you can think of besides
 Jared and Irene? Hope you are all well and your Mother is improving. Take care my friend ..

 xoxox
 Jenna

 -- On Tue, 24/5/11, Sharon Churcher <Sharon.Clmrche,@µ1ailons1mday.co.uk> wrote:

  From: Sharon Churcher <Sharon.Churchcr@mailonsunday .co.uk>
 Subj
 To: Jane Doe 2
 Received : Tuesday, 24 May, 2011 , 12:42 AM

 I would phone Sandra and suggest meeting to calk about agents (ineluding Grant, about whom you have every reason to ask questions).
  At this stage you have enough 10 sell the book. .. and she needs you so I th.ink will be reasonable.
 s
 XOxO
  -                   -
 From: Virginia Giuffre Jane Doe 2
 Sent: Monday, May 23. 201 I I 1:20 PM
 Tu : Sharon Clnm:hcr
 Subject · Re: Whai do you th ink of this?


  Hi Shazza,

  I replied back to Saudra, in a ve1y nice but business like way, and have not beard from her since, insinuating tbat she mi
  be offended that ram not paying her what she wants. Tneed to start looking at alternative ghos~1iters and was hoping~



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                                                                52 of 64                                              <i1UffREOOJ%9
           Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 43 of 70
could point me in the riglit direction and what their financial interests are. Once agajn you always come tbrougb , Thank
Matey!!

xoxox
Jenna

--- On Sat, 21/5/11, Sharon Churcher <S/w,-on.Churche a 11nilonsunrlay.co.11k> wrote:

 From : Sharon Churcher <Sharon .Churcher@rnailoosuoday.co.uk>
Sub .       ·W             •       ·?
To: Jane Doe 2
Received: Saturday, 21 May, 2011 , 8:47 PM

I was delay d gelling back 10 ihe US so apologize for not replying sooner. My advice is you :
I stick lo original deal and retain all clcctronu.: 1i ghts
2 sign nothing. Keep the agreement verbal until you have an agcnL lo don collaboration agreement
3 send Sandra a noie con firming the copyright in all dealings with her is reserved by you pending a co!Jnborntion agrcemeni

From: Virginia GiuITrc Jane Doe 2
Sent: Sa1urd0y , May 21 , 2011 09:42 PM
To: Sharon Churchcr
Subject: Whet do you think oflhis?


 Hi Share~
Sandra and I arc just about to start sending prologues out when she finally got back to me with a contract. After our las
discussion to take 30% off the net advance for ber being tbe ghostwriter, and no electronic rights, she has now sent me
any advance, royalties, serialisation rights, book club rights, film rights and TV rights will be split between them 70 - ~
Virginia Giuffre's favour, after any agent's commission.
Sbc bas got all of the info to write a story by herself if she wanted too, can she legally?
Please give me a caJI or let me know a good time to reach you, I don't know how to respond back to this wben we ares
close to the end.

 Much Thanks,
 Jenna




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  CONFIOENTlA L                                        Page 43    69
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To:       Sharon Churcher[Sharon.Churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent:     Tue 5/24/2011 10:15:28 PM
Importance:          Normal
Subject Re: What do you think of this?
Received:            Tue 5/24/2011 10:15:28 PM

 HiShazza,
 This is her final reply, I am not very hopeful about using her anymore.
 Do you know of any other reputable Ghosl'-Nrlters In N.Y.C, I Just don't think she Is going to
 In be in my best interests. See below email from her Olis a.m. ..

 Thanks Buddy! !

 Hi Jenna
                                                                                                                                         your
 I am not offended by your comments and I agree With you that !his is business our I must say I don't know where you are getting
                                                                                                                                  the figure quoted
 lnfonnation from. All the reseQrch I have done here tells me that ghost writer's ere usually working on a 50-50 besls. That Is
                                                                                                                                   a lot of the Initial
 in the 2011 edition of the Writers end Artists Year Book. I have never worked on less then 40% but because you were doing
 writrig I thought lt would be much fairer' If mt percentage reftected that, that's why I went down to 30%
 I do not know of any ghost Writer who relinquished screen rights and ser1ali.satlon rfghls. The main reason for that Is, obviously,
                                                                                                                                      it is the gnost
 writer's writing -and input that has been sold on for screen or serialisation.
 If you went to find someone esle, that is entirely up lo you, but lhose are my terms.
                                                                                                                                              He on!)'
 As for Grant, !here is no need lo gel him to sign a confidentiality agreement because there is no need for hrm lo see the manuscript
 needs lo know who you are and that has been In the paper!
                                                                                                                                   be lo make
 As for sending O\Jt to agents, I was going to advise you nearer the lime, but 111do it now. In my opinion your first step should
                                                  when  you go there, taking with you the proposalc111d first chapter. They know what   the story is
 appointments to see the people in New York
                                                                                                                                    beforehand you
 and they have expressed an interesl You have got your fool in the door to sell yourself and your book. If you send it to them
                                                                                                                                      wise so we
 are gMng them the opportunity to say no withal.it having mel you. And you have c1 lot going for you personality and intelligence
 wan1 them to see that!
 If those meetings <toni produce anything, then we send it to other agents.
 l'H gel Grant to call you but I have left your phone number at home, so email It to me aod 111 pass Hon.
 Hope all Is well.
 Sandra
 - On Tue, 2416111, Sharon Chun:her <Sharon.Chun:her@msllonsunday.co.uk.> wrote:

  f.rom: Sharon Chun:her <Sharon.Churcher@mallonsunday.co.uk>
 Su . • ·                  •      •
 To: Jane Doe 2
 Received:.Tuesday~24 May, 2011, 11:57 AM

 There are 2 top agents who rep writers I know. Let me see what I can do. Did y check on ~Grant"?

 From: Virginia Giuffre Jane
                        .     Doe  _ 2
 Sent Tuesday, May 24, 2011 03:12 AM
 To: Sharon Ct11Jroher
 Subject Re: 'Mia! do you think ol this?

  HIShazza.
                                                                                                                                        and that was
   She did send back a message after I asked If we were still on. but very blunt end to the polnl She said she has been very busy
  il I don't know What that means but i am meeting with an entertainment lawyer on Friday who ls going to write me up an official colahoration
                                                                                                                                   oompiling rist of
  agreement in hopes to get the ball rollng.l do think I should l")ave a backup plan and appreciate all of your asslstence!J I am
                                          you can  think of besides  Jared and Irene? Hope yoo  are ell well end your  Mother  is improving. Take
  reputable agents, is there anyone else
  care my friend..

  xoxox
  Jenna

  - On Tue, 24/5/11, Sharon Churcher <Sharon.Churcher@mailonsundar.r:o.uk> wrote:

   From: Sharon Churcher <Sharon.Churcher@mailonsunday.co.uk>
  SubJane Doe•   2       ••• · ?
  To:
  Received: Tuesday, 24May, 2011,12:42 AM
                                                                                                                                              to
  I would phone Sandra and suggest meeting to talk about agents (including Grant, about whom you have every reason
   ask questions}. At this stage you have enough to sell the book ... and she needs you so I think will be reasonable.
  s
   XOxO



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                          CONFIDENTIAL                            MATERIAL
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To:
                Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 46 of 70
          sharon churcher[sharonchurcher@hotmail.com]
From:     Virginia Giuffre
Sent      Sun 5/24/2015 1:40:53 AM
Importance:          Normal
Subject: Re: RE:
Received:            Sun 5/24/2015 1 :40:53 AM

Hi there,

Yeah lots of good things ha        ening, right now •ust have to sta tight lip ed but I hope you're doing well and take care!!

xoxo Jenna

Sent from my iPhone

On May 23, 2015, at 3:07 PM, sharon cburcher <sharonchurchcr@hotmail.com> wrote:


          Just was reading about David Boies taking your case. How fantastic, Jenna! Have you asked him how he'd feel about you
        reviving your book? It would be an incredible shame if the other project liks your story, which it could at least somewhat.
        Jarred still is ve['I keen to represent you. I am afraid I screwed up by steering you to Mimi.

  I just had a great week in LA on a celebrity story. Got to go to Rodeo Drive!!!!

   Much love,

   Shazza xoxo

Sharon Churcher
New York Correspondent
Telephone: +l (914)-319-1838
Email:     sharonchurcher@hotmail.com



From: Virginia Giuffre
Sent: 5/9/2015 1:46 PM
To: sharon churcher
Subject: Re:

Hi Shazza!!

Who is tbjs writer? Don't know anything about it

Hope all bas been well lately!!

Jenna

Sent from my iPhone

On May 9, 20 I 5, at 2:10 PM, sbaron churcher <sharonchurcher@.botmail.com> wrote:


                Hi there



A NY writer is doing a book on Jeffrey. The writer claims you are on side and if that is so, that is fantastic. But if for any reason
                you are not on that contract, this would be the time to sell your own book. I believe it will be a bestseller. You
                write very well.




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Love to all,
               Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 47 of 70
Shazz




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To:
            Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 48 of 70
          sharon churcher(sharon.churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent      Wed 5/25/2011 11 :29:40 PM
Importance:          Normal
Subject: Hello ...
Received:            Wed 5/25/2011 11 :29:40 PM

 Hi again buddy,
 Just wondering if Sandra got back to you with a reply to your message. I don't think she's gonna budge on the final cuts, t
 1'11 give it a few days to see what comes of this. I will keep writing, but should I still see the lawyer on Friday to draft a
 collaboration agreement if no reply from her. How are you settling back in N. Y.C? I hope you are doing well and I look
 fmward to chatting again soon!!

 Take Care,
 Jenna




  CONl'IDENTIAL                                                                                                GIUffRE003977
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To:
               Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 49 of 70
          Sharon Churcher[Sharon.Churcher@mallonsunday.co.uk)
From:     Virginia Giuffre
Sent:     Thur 5/26/2011 12: 15:04 AM
Importance:          Normal
Subject: Re: Hello...
Received:            Thur 5/26/2011 12:15'. 04 AM

 Ili,

 Okay , so my next step is to look for an agent, don't l need to send them a synopsis and sample chapters, or bow do I
 approach one and ask them to represent me? l'm son)' to bombard you with these ucstions but 1 take your word upon ott
 and know that you actually know what our talking about! !
    s far as Sandra goes I am not willing to pa her what she wants, could you nlease give me the names and contact info t
 any other hostwriters who might be interested. Are you sure ou don't want a iccc of this stoQ::??? ha. ba.

 As always xoxoxo Jenna

 -- On Wed, 25/5/11, Sharon Churcher <Shflro1LC/mrcher@mailo11sumlfly.co.11k> wrote :

  From: Sharon Cburcher <Sharoo .Cburcber@mailonsunday .co.uk>
 Su
 To     Jane Doe 2
 Received : Wednesday, 25 May , 2011 , 11 :37 PM

 J Lhink u shou ld cal I her and say you cannot agree lo g-ive her more lhan 30pc of the book advance a1 th.is v early stage of things. Jf she
  balks ! would say lo her that you are going to look for an agent and will have b1m/ber talk to Sandra or her agent about hammering out
  an agreement with her. I don't think paying a lawyer is worth it unless she goes for the 30pc. 1f she docs he caa do up an agreement.

 From: Virginia Giuffre   Jane Doe 2
 Sent: Thursday, May 26, 20ll 12:29 AM
 To; Sharon Q1urcber
 Subject: Hello ...


  Hi again buddy ,
  Just wondering if Sandra got back to you with a reply to your message. I don't think she's gonna budge on the final cuts
  fll give it a few days to see what comes of this. J will keep writing, but should I still see the lawyer on Friday to draft a
  collaboration agreement if no reply from her. How are you settling back in N.Y.C? I hope you are doing well and I look
  forward lo chatting again soon!!

  Take Care,
  Jenna




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To:
             Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 51 of 70
          Sharon Churcher[Sharon.Churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent:     Thur 5/26/2011 9:38:46 PM
Importance:          Normal
Subject:    Re:
Received:           Thur 5/26/2011 9:38:46 PM

 Hi Shazza,
 Sounds like a good plan but I haven't heard back from Sandra yet re the money I will pay her for synopsis and sample
 chapters, Tf I don't hear back from her soon, I will send you what Iv'e got and maybe you can judge wether 'Or not it is rea1
 to go to an agent. I hope your enjoying Boston and try to not work so hard all the time!!


 xoxox
 Jenna

 -- Oo Thu, 26/5/11, Sharon Churcher <Sharon.Churche1@mailons11nday.to.11k> wrote :

  From : Sharon Cburcher <Sharon.Clmrcher@mailonsunday.co.uk>
 Sub."
 To: Jane Doe 2
 Received: Thursday, 26 May, 201 I, 5:28 PM

 My ghostwriter pal says 30pc of all rights is norm. But also says Sandra doesn't sound right for u...u need someone
 more reliable. I suggest u first look for an agent and then they hook u u with a tested writer.


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            Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 52 of 70


To:       Sharon Churcher[Sharon.Churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent:     Mon 5/3012011 2.:01 :32 AM
Importance:          Normal
Subject:    Re:
Received:           Mon 5/30/2011 2:01 :32 AM

 Hi Sbazza,
   o new from Samira yet, not even a reply back. So now my next plan of action is to get an agent and get my book sold by
 a publisher. Sandra's professional approach towards this matter isn't suffice, I need someone wbo will take this very serious.
    other news I got another message from Brad Edwards who passed on another re uesl lrom VF o e1in to ay me or my
  ic with P.A. l know they are utting together a iece on P.A and I would lik1;: to find out exactly what that entitles about
   yself. hope you a.re enjoying the festivity of the weekend and look forward to your next email.

 Take Care,
 Jenna

 - On Sat, 28/5/11, Sharon Cburcher <Sharon.Ch11rcher@111nilo11suntlay.co.uk> wrote:

 From : Sharon Church er <Sharon.Churchcr@mailonsunday .co.uk>
Sub·ect:
To:Jane Doe 2
Received: Saturday, 28 May, 20 I l, 8:00 PM

 Before you make a final decision on Sandra, I would ask her for titles aod publishers of other books she has ghosted
 and titles of any films . That's is a legit request since she wants 30pc of everything. Let's see what experience she has.
 s
 XOxO


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          Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 53 of 70


To;       Sharon Churcher[Sharon.Churcher@mailonsunday.co.ukJ
From:     Virginia Giuffre
Sent      Mon 5/301201110:43:19 PM
Importance:          Normal
Subject: Re: VF
Received:            Mon 5/30/2011 10:43:19 PM

 Hi Shazzc1,
   Good points, a of them . I am lo kin a both sides to the picture . On the upside it will give ex osure to build up ublicity
 for the case an t e story but like you said, 1t must be carefully written and not give any notions about the upcoming boo
 and or any new info. When i was doing some research into VF yesterday , it does concern me what they could want to write
 about me considcrin that B.Clinton walked into VF and threatened them not to write scx-trafficing articles about his good
 friend J.E. Should l be asking wb111 is this story their writing cnaining to? l wouldn't want to give tbc public a bad image or
 anything like that. 1 don't know it's alJ such a gamble . I just than , ooodncss for having a friend like ou on the inside who
    ows tiow to deal wi      1e viciousness of todays world!! l will let Brad know what you ave recommended. Thanks
   gain!!!!

 xoxoxoxo Jenna

 - On Mou, 30/5/11, Sharon Churcher <Sharo1t.C/111rcher([S,11ttailo11s1mday.co.11k> wrote:

  From: Sharon Churcher <Sbaroo.Churcber@maiJoosunday.co.uk>
 Sub·     V
 To: Jane Doe 2   -                    -
 Cc: "'brad@pathtojustice.com"' <brad@pathtojusrice.com>
 Received: Monday, 30 May, 2011 , I :48 PM

 l would let Vfi' buy your picture via Brad. The big gamble would be to let him also give iliem a statement saying your
  interviews with us were accurately reported and you have no more to say at this time a - w ~
  trafficked to PA and other men including two of the world's most respected olitcians (                nJane
                                                                                                            dDoe --  2
 Jane Doe 2
 ~ well as women (the scenes with Ghislaine etc because you are writing a boo . c reason this is a
  gamble is Jeffrey knows some of the most powerful people in publishing and, once alerted, will inevitably try to
  scare off potential buyers. But the upside is it should help you get a good agent.
 l would have Brad use the phrase "sex trafficked" as that is a beads up about the book revealing more tban we printed.


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     and or any new info. When i was doing some research into VF yesterday, it docs concern me what they could want to write
     about me conside1ing that Cl.Clinton walked into Vf and threatened them aot 10 write sex-rrafficing articles about his good
     friend J.E. Should J be asking what is this story their w1iting pertai11i11g to? I wouldn't want to &.;ve the public a bad image c
     nnything like thnt, I don't know, it's nil such :i gamble. I just thank goodness for hnving n friend like you oo the inside who
     knows how to deal with the viciousness of todays world!! I will let Brad know what you have recommended. Thanks
     Again!!!!

     xoxoxoxo Jenna

     --- On Mon, 30/5/11, Sharon Churcher <Sharo11.Ch11rcher@11111ilo11s111ul11y.co.11k> wrote:

     Prom : Sharon Churcher <Sharon.Cburcber@mailoosunday.co.uk>
    Sub · t · V
    To: Jane Doe 2
    Cc: "'brad@pathtojustice.eom'" <brad@pathtojustice.com>
    Received: Monday, 30 May, 201 I, l :48 PM

    I would let VF buy your picture via Brad. The big gamble would be to let him also give them a statemeol saying your
     interviews with us were accurately reported and you have no more to say at thi time about how you were "sex
                                                                                                             Jane Doe 2
     trafficked to PA aad other men iocluding two of the world's most respected politcians ■■■lllllllltod          _
    Jane Doe 2
    -          as well as womeo (the scenes with Ghislaine etc) because you are wriring a book . The reason this is a
     gamble is Jeffrey knows some of the most powerful people in publishing and, once alerted, will inevitably tty to
     scare off potential buyers. But the upside is it should belp you get a good agent.
    I would have Brad use the phrase "sex trafficked" as that is a beads up about tbe book revealing more t11an we printed .


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To:       Sharon Churcher{Sharon.Churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent      Wed 6/1/2011 12:05:04 AM
Importance :         Normal
Subject: Re: VF
Received:            Wed 6/1/2011 12:05:04 AM

 Hl Sllazza,_
                                                                                                                              Tsell VF
 Jam going to ask Brad to inquire what tl1c piece is about firstly and see what it is they want to write about before
                                                                                                a  good  price   to sell rhis to VF
 any pie, not sure if it will even be financially viable or good publicity. What do you think
                                                                                                to  you  to  read  over   before I 1 start
 sl1ould be? Also l aoi concluding my Synopsis today and was wondering lff could send it
                                                                                                          to  have  you   approve   of
 sending them out to agents. l know you know what they would be looking for and would be good
                                                                                                 it goes  ro  show   that her
 my writing. I just cant believe that Sandra hasn't gotten back to me at all. It is a shame but
 professional approach and seriousness towards the book were not tbe enthusiasm 1 was looking for anyways.
                                                                                                                              about all
 How was your Merooria] Day? I l1ope you bad the day off to relax for once!! Let me lmow what you arc thinking
 this ...

 Take Good Care,
 Jenna


 --- On Tue 31/5/11, Sbaron Churcher <Slwro11.Cl111rcl1er@Jnnil.onswulay.co.11k> wrote:

  From: Sharon Churcber <Sbaron.Churcher@mrulonsunday.co.uk>
 Subj
 To:'Jane Doe 2
 Received: Tuesday, 31 May, 2011, 1:00 PM
                                                                                                                    Either way I'd go for a
 PS their piece is about PA - but u are righ.110 be concerned whose side they are ialcing. I think it is anti PA.
  Brad stntem enL

 Fl'om: Virginia Giuffre Jane Doe 2
 Sent: Monday, May 30, 2011 11 :43 PM
 To: Sb.aron Churchcr
 Subject~Re: VF

  Hi Shazza,
                                                                                                                               up publicit)
    Good points, a]l of them . I am looking at both sides to the picture. On the upside it will give ex--posure to build
                                                                                    not  give  any notions   about  the upcoming     book
  for tbe case aud the story but like you said, IL must be carefully written and
                                                                                 it does    concern me   whattbey    could   want  to write
  and or any new info. When i was doing some research into VF yesterday,
                                                                                 not   to  write scx-traffici ng articles  about his  good
  about me considering that B.Clinton waJked into VF and threatened them
                                                                                                                              bad image 01
  friend J.E. ~hould I be asking what is this story their writing pertaining to? 1 wouldn't want to give the public a
                                                                                     for  lJaving a fnend   like you  on  the inside  who
  anything like that. J don't know, it's all such a gamble. I just thank goodness
  knows how to deal with the viciousness of 1odays world!! I will      let Brad know    what   you  have  recommend     ed. Thanks
  Again!!!!

  xoxoxoxo Jenna

  --- On Mon, 30/5/11, Sharon Chu re her <Shuron.Cl111rc/1er@111nilons11nday.co.uk> wrore:

    From: Sharo11 Chw·cbcr <Sbarou.Churchcr@mailo11sunday.co.uk>                                                              EXHIBIT
   Sub·
   To:Jane Doe 2
   Cc: "'brad@paduoj ustice.com'" <brad@pmhtoJus ace.com>
                                                                                                                           b1u-±fre            ;;a/
                                                                                                                           AGREN BLANDO REPORTING
   Received: Monday 30 May , 2011, I:48 PM                                                                                 :,)3-/ }Ip         ~I?)

                                                                                                                                          your
   l would lt:1 VF buy your pit:IUJe via B1ad , The big gamble would be to let him also give them a statement sayi11g

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                                                                                  time about bow you were "sex
  interviews with us were accurately rcpo11cd and you have no more to say ac this
                                                                                       s (-            nd -Jane Doe 2
  trafficked to PA aad other men includiag two of the world's most respccled politcian
                                                                              wriling a book . The reason ll1is is a
-Jane Doe 2 as well as women (the scenes with Ghislaine etc) because you are
                                                                                once nlerted, will incvitnbly try to
  gamble is Jeffrey knows some of rhe most powerful people in publishing and,
 scare off potcmial buyers. But the upside is it should help you get a good agent
                                                                                        revealing more lha.o we printed.
I would have Brad use the phrase "sex trafficked" as that is a beads up about the book


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To:       Sharon Churcher(Sharon .Churcher@mailonsunday.co.uk)
From:     Virginia Giuffre
Sent      Wed 6/1/2011 12:34:25 AM
Importance:          Normal
Subject: Re : VF
Received:            Wed 6/1/201 1 12:34:25 AM

 Thanks Buddy, I will send it to you shortly!!!

 --- On Wed, 1/6/11 Sharon Churcher <Sltllron.Clu11·che,@J11nilo1mmday.co.11k> wrote:

  From : Sharon Churcher <Sharon Churcher@mailonsunday.co.uk>
 Subject: Re : VF
    Jane Doe 2
 To:'
 Received: Wednesday, I June

Darling sell them "one 1ime usnge" to the photo. lt has been everywhere so no dowuside. They will offer you a price 11cd to their
 circulation. I would hold out for US2k minimum .
J will be bonored to read the synopsis!
Shnzza
XO

                      Jane Doe 2
 From: Vu-ginia Giuffre
Scot: Wc<lnt:s<luy, June 01. 201 I 01 :05 AM
To: Sharon Churcbcr
Snbj~t: Re: VF

 ill Sbazza,
 lam going 10 ask Brad to inquire what the piece is about firstly and see what it is they want to write about before Tsell VF
 any pie, not sure ifit will even be financially vi~blc or good publicity. What do you think a good price to sell this to VF
 should be? Also I am concluding my Synopsis today and was wondering If I could send it 10 you to read over before I I start
 sending tbem out to agents . I know you know what they would be looking for and would be good to bave you approve of
 my writing. I just cant believe that Saudra hasn't gotten back to me at all . It is a shame but it goes to show that her
 professional approach and seriousness towards the book were not the enthusiasm I was looking for anyways.
 How was your Memorial Day? I hope you bad the day off to relax for once!! Let me know what you are thinking about all
 this ...

 Take Good Care,
 Jenna


 -- Oo Tue, 31/5/11, Sharon Churcber <Sharo11-Clturche,@n1ailons111iday.co.uk> wrote:

  From: Sharon Chureher <Sharon.Churcher@mailonsunday.co.uk>
 Sul .
 ToJane Doe 2


 PS their piece is 11boul PA -- but u are right to be concerned whose sicic they arc taking. 1 tbmk it is anti PA Either way I'd go for :i
  Brad sta1emen1.

 From· Virrunia r.iuffre   Jane Doe 2
  cnt: Monday , May • LI, _01 t 11 :43 P:vl
 To: Shun,n hun:h~r
 Sul.,ject: Re: VF


  1li Shazza,
    Good ints all of them . Tam lookiug at both sides to the picture. On the upside it wil c.ivc exposure to build up ublicit
  for the case and the <; tory but like you said, I! mnst be carefully written and not give anv notions about the 11 com ing book
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and or any new info. When i was doing some research into VF yesterday, it docs concern me what they could want to w1ite
about me c nside1iug tbat D .Clinton walked into VF and threatened them oot to write sex-trafficiug articles about his good
friend J E. Should l be asking what is this story their w1iting pertaining to? J wouldn't want to give the public a bad image c
anything like that. l don't know, it's all such a g.1mble. Tjust thank goodness for having a friend like you on the u1side who
knows how to deal wi ch the viciousness of todays world!! I will let Brad know what you have recommended. Thanks
Again!!!!

xoxoxoxo Jenna

-- On 1on, 30/5111, Sharon Churcher <Slwro11.Ch11rche1@mnilon.'im1flay.co.11k> wrote:

 From : Sharon Churcl1er <Sharon.Churchcr@mailonsunday.co.uk>
Suh·
To: Jane Doe 2
Cc : "'brad@pathtojustice.com'" <brad@patbtojustice.com>
Received: Monday, 30 May, 2011 , I :48 PM

I would let VF buy your picture via Brad. The big gamble would be to let him also give them a statement saying your
 interviews with us were accurately reported and you have no more to say at this time about how you were    ''sex.
                                                                                                        Jane Doe 2
  trafficked to PA and other men including two of the world's most respected pol itcians ■■■■lind -
-Jane Doe 2 as well as women (the scenes with Ghislaine etc) because you are writing a book. The reason this is a
 gamble is Jeffrey knows some of the most powerful people in publisbing and , once alerted, will inevitably try to
 scare off potential buyers. But the upside is it should help you get a good agent.
I would have Brad use tbe phrase "sex trafficked" as that is a heads up about tbe book revealing more than we printed.


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                      Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 60 of 70
      To:       Sharon Churcher[Sharon.Churcher@mailonsunday.co.uk]
      From:     Virginia Giuffre
...   Sent      Thur 6/2/2011 4:26:51 AM
      Importance:          Normal
      Subject: Re : VR- Synopsis
      Received:            Thur 6/2/2011 4:26:51 AM

       Thanks buddy!! Glad to hear it...
       xoxox Jenna

       ·-- On Wed, 1/6/11, Sharon Ch11rcher <Sharo11.Ch11rche1@mailonsund11y.co.11k> wrote :

        From: Sharon Cburcher <Sharon .Clrnrcber@mai lonsunday .co.uk>
       Sub·                   •
       To: Jane   Doe   2
       Received: Wednesday, 1 June, 201 I, I I :48 PM

       Just dipped into this. It is BRILLIANT.

       From: Virginia Giuffre Jane Doe 2
       Sent: Wednesday June OJ , 201 I 11 :4 J PM
       To: Sharon Churcher
       Subject: YR- Synopsis


        Hi Shazza,
                                                                                                                            feedback!!!
        Hope all is wel I for you today!! Here is my synopsis, I need your honest opinion and look forward to your

        Thanks for this ...
        Jenna




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To:       Sharon Churcher[Sharon.Churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent:     Thur 6/2/2011 9:48:27 PM
Importance :         Normal
Subject: RE: VR- Synopsis
Received:            Thur 6/2/2011 9:48:27 PM

 Hi Shazza,
 1 cant believe l didn't pick up that e1TOL.Thank-You!!! Glad to bear that you think lbis is ready , r will compile a list of
 articles and let you know when I can send it all out. Yes, lease let Jarred know I am ready and anyone else ou might tbi
 be interested in this story. I am so stoked ... wc arc on our way!!! YEAH.

 xoxox Jenna

 -- On Thu, 2/6/11, Sharon Churcher <Sharo11.Churclter@mailo11s11nday.co.u.k> wrote:

  From: Sharon Churcher <Sharon.Churcher@mailonsunday .co.uk>
 Subject: RE: VR- Syno sis
 To: "Virginia Giuffre" Jane Doe 2
 Received: Thursday, 2 June, 2011, 4:18 PM


 Playboy club .... spelling error! Anyway I think u have enough here to pitch agents . I would download and attach every
  article you can find about you and Jeffrey .



 Shall I mention lo Jarred Weisfeld that the synopsis is ready?



 From: Virginia Giuffre_Jane Doe 2
 Sent: 01 June 2011 18:41
 To: Sharon Churcher
 Subject: VR- Synopsis




  Hi Shazza,




  Hope all is well for you today!! Here is my synopsis, I need your honest opinion and look foiward to your feedback!!!




  TI1anks for this ...


  Jenna




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                                 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 62 of 70
    Subject: Re:
    Received:                     Sa16/4/2011 2:51 :41 AM
    VR-Cover Letter & Resume .doc-x

      Hi Shazza,
        Back from the E.R and -        1as got a tom ligament, could be much worse ...phew! ! ! Anyways, l wasn't to sure exactly
      wbat to put jn my profile so I included what I thought would be informative, but if this is not what you had in mind, let m
      lmow and I will fix it u . Thanks again for doing_,so much for me and m family! r

      Sincerely,
      Jenna

      -- On Sat, 4/6/11, Sharon Churcher <Sharo11.Churcher@Jt1ai/ons1mdt1y.co.11k> wrote:

       from: Sharon Churcher <Sharon .Churcher@mailonsunday.co.uk>
      Sub."
      To: Jane- Doe 2                         -
      Received: Saturday , 4 June, 2011, 12:37 AM

      Poor poorlll! Hope it isn't a break
      Shau.a
      Xoxox

      From: Vtrginia Giuffre Jane Doe 2
      Sent: Saturday, June 04, 201 I 01 :14 AM
      To: Sharon Churcher
      S11bject: Re:


        Great stuffl I will send you it as soon as I get back home, just at hospita1 with~    ho may have broken his arm. NevE
        dull moment around here! Loi I Anyways, thanks so much ... Your incredjblc!
        Xoxoxo and many thanks,
        Jenna




      Fr •11  l•II     I   1·    1.11•1           1·@11.11   II•   t   k>;
      To Jane Doe 2
      Sent: Fri, Jun 3, 2011 11:05:07 PM

        Jarred would like to see the package when u have it ready . I can send him our stories. U should write up a pib
        about yourself...a pen portrait like the author bios u see on book jackets.


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•   llllfJVlldlll.t: ;          l'lfUll lldl
    Subject: Re:
    Received:                   Sat 6/4/2011 3:27:53 AM

      Shazza,
      Big compliments coming from such a great writer like you!!! Thank you so much, you have lit up my day!!! J look forwa
      to hearing back from you this weekend ... bave a good one!!

     xoxoxxo
     Jenna

     ---On Sat 4/6/11, Sharon Churcher <Sharon.Churcher@mnilonsunday.co.u/,,'> wrote:

      From: Sharon Churcber <Sharon .Churcher@maiJonsuoday.co.uk>
     Subje t: Re:
       Jane
     To: '     Doe 2
     Received: Saturday , 4 June, 20 l I, 3 :08 AM

     This is grabbing. Spol oa. The one as eet of this you need to address is how many names Lo name (of men) and when. I will go
      through yours no sis carefully over the weekend and then let's chat. One strategy would be to add in some examples with xxxx
      instead of names.
     And thank goodness -       is OK!
     s
     XO

     From: Vi.rginia Giulire
                             Jane Doe 2
     Sent: Saturday , June o( 2011 03 :51 AM
     To: Sharon Churcher
     Subject: Re:


      Hi Shazza,
        Back from the E.R and -         "S got a tom ligament, could be much worse ... phew! !! Anyways, I wasn't to sure exact))
      what to put in my profile so I included what I thought would be informative, but if this is not what you had in mind, let o
      know and I wil l fix it up. Thanks again for doing so much for me and my family!!

      Sincerely,
      Jenna

      -- On Sat, 4/6/11, Sharon Churcher <Sharon.Ch11rcher@mailonsunday.co. 11k> wrote:

       From: Sharon Churcber <Sharon.Cburcber@mailonsunday.co.uk>
      Sub·ect: Re:
      To:Jane Doe 2
      Received: Saturday, 4 June, 2011, 12:37 AM

      Poor poor.           Hope it isn't a break
      Shazza
      Xoxox

      From: Virginia Giuffre   Jane Doe 2
      Sent: Saturday, June 04 , 2011 0 I: 14 AJ\11
      To: Sharon Churcher
      Subject: Re:


       Great stuff! 1 will send you it as soon as I get back home. just at hospital with-          who may have broken bis arm. Nev
       dull moment around bere! Loi! Anyways, thanks so much ... Your incredible!




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         CONFIDENTIJ\L                                                                                                     GIUf'f'RE0040 1-I
               Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 65 of 70
Xoxoxo and many thanks ,
Jenna




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To: Jane Doe 2
Sent: Fri, Jun 3, 2011 11 :0S:07 PM

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about yourself.. .a pen portrait like the author bios u see on book jackets.


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To:       Sharon Churcher(Sharon .Churcher@mailonsunday.co .uk]
From:     Virginia Giuffre
Sent      Tue 617/2011 11 :35:48 PM
Importance:          Normal
Subject: Re:
Received:            Tue 617/2011 11 :35:48 PM

 HI Sbazza,
 Hope you had a great weekend!' We arc ready to send it all away ... fingers crossed Jarred loves it!' Thanks again for a!I o
 your help and I will keep you info1med of anything new. I hope you and hubby are doing well and I look fo1ward to
 speaking with you soon.

 xox.oxoxo
 Jenna

 -- On Tue, 7/6/11, Sharon Cburcher <Sharon.Churcher@mailonsunday.co.11k> wrote:

  From: Sharon Church er <Sharon.Churcher@mailonsunday.co.uk>
 Sub·
 To: Jane Doe 2
 Received: Tuesday, 7 June, 2011, 12:56 PM

 Why don't u send Jarred your synopsis, bio and some of the Australian and US pickup? I can send him our stuff.


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To:         jarred lit agenV producerJane Doe 2
From:       Virginia Giuffre
Sent:       Wed 6/8/2011 12:06:45 AM
Importance:              Normal
Subject: Virginia Roberts- Synopsis & Profile
Received:                Wed 6/8/2011 12:06:47 AM
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Convicted paedophile Jeffrey Epstein is facing a new criminal investigation and is involved in a civil suit with a lawyer - Tel.dat
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Prince Andrew's link to sex offender Jeffrey Epstein taints royalty in US UK news The Observer.webarchive
Prince Andrew He's just trying to massage export figures - Home News , UK - The lndependent.webarchive
Secret Sex Lives.docx
The Total Collapse.docx
A unique resemblance .... docx

 Dear Jarred Weisfeld,
   We spoke on the phone going back a couple months ago regarding the story I am writing caJled, The Billionaires Playbc
 Club. I am no longer under any contract and would like to ask you to review my synopsis and if you are interested I woul
 love for you to represent me as my literary agent. I have included some of the press that has covered the ongoing case of
 Jeffrey Epstein, the worlds richest pedophile, and my good friend and journalist Sharon Churcber has a few from her artic
 that she has written to send to you as well I am very serious about getting my book published and believe this story will
 cover many genres of interest, not only by those following the lengthy case, but it is also a Woman's story of glitz, glamo
 sorrow, com assion, and true love. I hope you enjoy ....

 Sincerely,
 Virginia Roberts




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               Case 1:15-cv-07433-LAP Document 1325-2 Filed 01/04/24 Page 69 of 70
To:       Sharon Churcher[Sharon,Churcher@mailonsunday.co.uk]
From:     Virginia Giuffre
Sent:     Wed 6/8/2011 6:27:15 AM
Importance:          Normal
Subject: Re: Virginia Roberts
Received:            Wed 6/8/2011 6:27:15 AM

 Dearest Shazza,
 Once again you have really outdone yourself.MANY MANY THANKS!!!

 1 took the kids to the Australian Walkabout Park today and enjoyed the scenic walks and many kangaroos. Rob and l had
 good chuckle about our adventures at the Reptile Park with you and Mike ...good times!!! Have you heard from Mike? J
 hope he is well and if you ever speak, tell him 1 sent a BIG hello.

 I really aQprcciate everything you have be) cd with, as a friend }'OU have gone beyond the call of duty!!!

 l hope we hear back from Jarred soon!!

 xoxoxo Jenna

 -- On Wed, 8/6/11, Sharon Churcher <Sharon.Churclter@J11t1i/o,zsunday.co.uk> wrote:

  From: Sharon Cburcber <Sbaron.Churcher@majJonsunday.co.uk>
 Subject Virginia Roberts
 To: "ja1Ted baJperin a ent       Jane Doe 2
                                  1
                                                 Jane Doe 2
 Cc: "Virginia Giuffre" Jan
 Received: Wednesday, 8 June, 20T1, 2:31 AM


 Hi Jarred



 Hopefully you have Virginia's book pitch by now.



She has some amazing names which she can share with you in confidence and I think she also has a human interest
 story that could appeal to the Oprah/female set as well as tbe Wall Streeters who follow Epstein - a hedge fund king.



 Herc are a few of our stories about Virginia, plus some examples of the massive US and other international media
 pickup. Vanity Fair are doing a piece 1 believe in their August issue. The FBI have reopened tbe Epstein case due to
 Virginia's revelations. I also am attaching a link to a NY Magazine profile of Epstein .....written before his world
 combusted _The FBI believe he was essentially running a p1ivate - and mobile -- brothel for some of the world's
 richest and most influential men.



 He got off the first time round after retaining Kenneth Starr (who witcbhun ted Bill Clinton) and Alan Dcrshowitz
 (von Bulow' s appeal lawyer, who inspired the movie Reversal of Fortune). TI1e US Justice Dept is investigating
 conuption allegations against at least one prosecutor involved in the case .



Best regards,



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Sharon



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http://billionaires.forbes.com/article/03rx.gl l 2IP9nv (This one, in Forbes Magazine, seems to require subscribing but
 you get the gist)



http://www.telegrapb.eo.uk/news/uknews/theroyalfamily/8362690/Prince-Andrew.html



http://www.dailytelegraph.eom.au/news/the-prince-a-paedophile-and-the-sex-slave-teen/story-c6freuy9-
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http://nymag.com/nymctro/news/people/n_ 7912/


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